Case 2:03-cv-02939-.]DB-dkv Document 129 Filed 05/03/05 Pagelon Pag |D 05

lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION
ELLlPSIS, INC.,
Plaintiff,
v. Civil Aetion No. 03-2939 BV
JURY DEMANDED

THE COLOR WORKS, INC.,

Defendant.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR
EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND
TO AMENDED COUNTERCLAIM AND THIRD-PARTY COMPLAINT

 

BEFORE THE COURT is Plaintiff" s Motion for Extension ofTirne to Answer or Otherwise
A‘o Wym. tp,a.d. aptly 271 noa_e»_`.
Respond to Amended Counterclairn and Third-Party Cornplaint. THE COURT finds that Ellipsis
should not be required to answer or otherwise respond to the Amended Counterclairn and Third-
Party Cornplaint until such time as the Court has ruled on Plaintiff’s Rule 72(a) Objection to Order
Granting Defendant’s l\/lotion for Leave to Arnend Counterclairn (“Plaintiff’ s Objection”).
The Motion therefore is well taken and is GRANTED. Ellipsis is allowed five (5) business
days following the entry of the Court’s ruling on Plaintiff" s Obj ection to answer or otherwise respond
to The Color Works’ Amended Counterclairn and Third-Party Complaint, if an answer or other
response is required.

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UNITED STATES Brsa=Rie'f JUDGE
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Thls document entered on the docket sheet in compliance

with nine 53 and/or 79(3) FRGP en _S_“S_'ZMS__ /2?

 

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EsSEE

 

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Honorable J. Breen
US DISTRICT COURT

